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            IN THE UNITED STATES DISTRICT COURT FOR                               E I VED
                    MIDDLE DISTIUCT OF ALABAMA
                                                                          sEP 18     A II: 3b
JOYFUL L. JOHNS,
                                                                   DFLTIRA.           CLY,
                                                                          DISTR!CT COURT
                    Plaintiff,                                        1 FT"   r



       v.                               Civil Action No.3 1c1-C,\/-6117-111-6-Sizw

MARSH & McLENNAN AGENCY                     DEMAND FOR JURY TRIAL
LLC,

                      Defendant.


                                   COMPLAINT

      Comes now the Plaintiff, JOYFUL L. JOHNS, and files her Complaint

pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5 and 42

U.S.0 § 12117(a) for violation of the Americans with Disabilities Act(ADA),for

her being discharged because of a disability, showing to the court as follows:

                         JURISDICTION AND VENUE

       Jurisdiction is conferred under Title VII of the Civil Rights Act of 1964,42

U.S.C. § 2000e-5 and 42 U.S.0 12117(a),,the Americans with Disabilities Act of

1990(ADA).

      The violation ofthe Plaintiff's rights as alleged herein occurred in Tallapoosa

County, Alabama, and within the Middle District of Alabama.



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                                       PARTIES

        1) The Plaintiff, JOYFUL L. JOHNS,(hereinafter "Plaintiff'), is over the age

of nineteen years, is a resident of Tallapoosa County, Alabama, and was so at the

time of the incidents which form the basis of this lawsuit. Plaintiff is a former

employee of MARSH & McLENNAN AGENCY, LLC (hereinafter referred to as

"Defendant ). Plaintiff ceased to be employed by Defendant on September 25,

2018.

        2) Defendant is a foreign limited liability company, with its principal address

located in New York, New York. The defendant is qualified to do business, and

does business, in the State of Alabama, within the Middle District of Alabama, in

Tallapoosa County.

          FACTUAL ALLEGATIONS RELATED TO VIOLATIONS
          OF THE AMERICANS WITH DISABILITIES ACT(ADA)

        3)Plaintiff is a qualified individual with a disability.

        4) Plaintiff is a former employee of the Defendant and a covered entity as

defined under the Americans with Disabilities Act of 1990 (ADA), 42 U.S.0 §

12111(4).

        5) Defendant is an agency that provides insurance through various agents in

the State of Alabama.

        6) Defendant employs 500 or more employees.
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      7) Defendant is a covered entity as defined under the Americans with

Disabilities Act of 1990(ADA),42 U.S.0 § 12111(5).

      8) Plaintiff was employed by Defendant as an account manager, working for

J. Smith Lanier, in February, 2013.          Defendant terminated the Plaintiffs

employment on September 25, 2018.

      9) The local site of employment to which the Plaintiff reported was in

Tallapoosa County, Alabama.

      10) Plaintiff broke her right foot on or about April 18, 2018.

      11) Plaintiff requested an accommodation on April 23, 2018 and asked that

she be allowed to work from home while her injury healed. That request was denied.

      12) Plaintiff used her personal leave time and FMLA and was thereafter

placed on short-term disability.

      13) Again, in July, 2018, after exhausting her FMLA Plaintiff contacted the

corporate offices of the Plaintiff and requested that she be provided an

accommodation to work from home until she was cleared by her physicians to retum

to work without restrictions. That request was granted.

      14) Plaintiff worked from home without incident until September 25, 2018.

On September 25, 2018, Plaintiff was contacted by her supervisor and other

representatives from Human Resources and was advised that her employment was

terminated.



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       15) Plaintiff submitted a Charge of Discrimination to the EEOC on March

11, 2019.

       16) The EEOC, in its letter dated June 20, 2019, issued a notice of right to

sue.

                                    COUNT I

                Violations of the Americans with Disabilities Act

       17) Plaintiff incorporates and realleges each and every allegation set forth

above and incorporates the same herein by reference.

       18) Defendant Marsh & McLennan Agency, LLC, violated the Americans

with Disabilities Act(ADA)when it terminated the Plaintiffs employment because

of her disability by failing to make adequate job accommodations, engage the

Plaintiff in the interactive process to make job accommodations, and maintaining an

inflexible leave policy which did not provide for reasonable accommodations

discussions, but instead provided for termination ofemployment,in violation ofthe

ADA.

       19) Plaintiff claims of the defendant compensatory darnages including back

pay provided by 42 U S.C. § 12117 and 42 U.S.0 §2000e-5 and any other

enhancement or damages that may be provided by law. Compensatory damages

include back pay and any other compensable damages that were proximately caused

by violation of the law.      Plaintiff also claims attorneys' fees pursuant to
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42 USC § 12205.

                            PRAYER FOR RELIEF

      WHEREFORE,premises considered,Plaintiff respectfully requests the Court

to:

      a) Permanently enjoin the defendant, its agents, successors, officers,

         employees,attorneys, and those acting in concert with them from engaging

         in each of the unlawful practices, policies, customs, and usages set forth

         herein, and from continuing any and all other practices shown to be in

         violation of applicable law;

      b) Order modification or elimination of practices, policies, customs, and

         usages set forth herein and all other such practices shown to be in violation

         of applicable law h herein and all other such practices shown to be in

         violation of applicable law.

      c) Grant compensatory damages against the defendant, including but not

         limited to, back pay, loss of fringe benefits, and loss of career

         advancement.

      d) Grant punitive damages to the maximum provided by law.

      e) Reinstate Plaintiffs employment with Defendant.

      f) Order an award of cost and Attorneys fees to Plaintiff.




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                                     COUNT II

                               Retaliatory Discharge

      20) Plaintiff incorporates and realleges each and every allegation set forth

above and incorporates the same herein by reference.

      21) Plaintiff alleges she is the victim of a retaliatory discharge by Marsh &

McLennan Agency,LLC.

      22) The Plaintiff is a member of a protected class.

      23) The Plaintiff engaged in a protected activity by asking for a reasonable

accommodation. The Defendant willfully and intentionally discriminated the

Plaintifffor engaging in the protected activity which lead to the retaliatory discharge

ofthe Plaintiff.

                             PRAYER FOR RELIEF

      Wherefore, premises considered, Plaintiffrespectfully request the Court to:

      a) Permanently enjoin the defendant, its agents, successors, officers,

          employees,attorneys, and those acting in concert with them from engaging

          in each of the unlawful practices, policies, customs, and usages set forth

          herein, and from continuing any and all other practices shown to be in

          violation of applicable law;

      b) Order modification or elimination of practices, policies, customs, and

          usages set forth herein and all other such practices shown to be in violation



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         of applicable law h herein and all other such practices shown to be in

         violation of applicable law.

      c) Grant compensatory damages against the defendant, including but not

         limited to, back pay, loss offringe benefits, loss of career advancement.

      d) Grant punitive damages to the maximum provided by law.

      e) Reinstate Plaintiffs employment with Defendant.

      0 Order an award of cost and Attorneys fees to Plaintiff.

                                   COUNT III

                                In'unctive Relief

      24) Plaintiff incorporates and realleges each and every allegation set forth

above and incorporates the same herein by reference.

      25) Plaintiff requests that the Defendant be enjoined from engaging in such

unlawful employment practice, and order such affirmative action as may be

appropriate, which may include, but is not limited to, reinstatement or hiring of

employees, or any other equitable relief as the court deems appropriate.

                            PRAYER FOR RELIEF

      WHEREFORE THE PREMISES CONSIDERED, the Plaintiff respectfully

requests the Court to:

      a) Enter a judgment that the discriminatory practices complained of herein are

unlawful and violative ofthe Americans with Disabilities Act of 1990 (ADA);
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      b)    Permanently enjoin the defendant, its agents, successors, officers,

employees, attorneys, and those acting in concert with them from engaging in each of

the unlawful practices, policies, customs, and usages set forth herein, and from

continuing any and all other practices shown to be in violation of applicable law;

      c) Order modification or elimination ofpractices, policies, customs, and usages

set forth herein and all other such practices shown to be in violation of applicable law;

      d) Grant compensatory damages against the defendant, including back pay;

      e) Grant Punitive damages to Plaintiff against Defendant for the maximum

allowed by law;

      f) Grant Plaintiff the cost ofthis action including reasonable attorney's fees;

      g) Grant pre-judgment and post-judgment interest at the maximum rate

allowable by law;

      h) Grant such other, further and different relief as this Court may deem just,

and all other equitable and legal relief as to which Plaintiff may be entitled.



                       The Plaintiff Requests Trial by Jury.




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                       Respectfully submitted,




                       J /i
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